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 8                     IN THE UNITED STATES DISTRICT COURT

 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,      )
                                    ) CR. No. S-05-0447 GEB
12                  Plaintiff,      )
                                    ) STIPULATION AND PROPOSED ORDER
13             v.                   ) SCHEDULING STATUS CONFERENCE,
                                    ) AND EXCLUDING TIME UNDER SPEEDY
14   JESUS HUERTA, et al.,          ) TRIAL ACT
                                    )
15                  Defendants.     ) Ctrm: Hon. Garland E. Burrell, Jr.
     ______________________________ )
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17        On October 26, 2005, the defendants JESUS BECERRA HUERTA and

18   ROSA ISELA HUERTA were arraigned on the Indictment filed on October

19   20, 2005.   The Court set a status conference in this case for

20   December 2, 2005 at 9:00 a.m.     Assistant United States Attorney

21   Robin R. Taylor appeared on behalf of plaintiff United States of

22   America.    Daniel J. Broderick, Assistant Federal Defender, appeared

23   with defendant JESUS BECERRA HUERTA; and Timothy E. Warriner, Esq.,

24   appeared with defendant ROSA ISELA HUERTA.        Both defendants are not

25   in custody.

26        At the joint request of all parties, it is requested that the

27   Court granted a continuance for a further status conference to

28   December 16, 2005, at 9:00 a.m., due to the counsel for the

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 1   government being out of state at a conference.           It is further

 2   requested that the Court further exclude time from December 2, 2005,

 3   to, and including, December 16, 2005, from computation of time

 4   within which the trial of this case must be commenced pursuant to

 5   Local Code T4 (give the parties reasonable time to prepare).

 6                                               Respectfully submitted,

 7                                               McGREGOR W. SCOTT
                                                 United States Attorney
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 9   DATED: November 28, 2005              By: /s/ Robin R. Taylor
                                              ROBIN R. TAYLOR
10                                            Assistant U.S. Attorney

11   DATED: November 28, 2005              By:/s/ Daniel J. Broderick
                                              DANIEL J. BRODERICK, AFD
12                                            Counsel for Jesus Huerta

13   DATED: November 28, 2005              By:/s/ Timothy E. Warriner
                                              TIMOTHY E. WARRINER, ESQ.
14                                            Counsel for Rosa Huerta

15   ___________________________________

16   IT IS SO ORDERED

17
     DATED:    November 29, 2005
18
                                                 /s/ Garland E. Burrell, Jr.
19                                               GARLAND E. BURRELL, JR.
                                                 United States District Judge
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